                                                                 _______                    _____
                                                                                                     _____
                                                                                                              _____
                                                                                                                     _____
                                                                                                                                          _____
                                                                                                                                                 _




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                                       UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT
                                                                                                                                OF FLORIDA
                                                                     wwflsb.courts.ov
                                                         CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                                              Original Plan
                               j 1st                                          Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                              Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)
        DEBTOR: Margaret C. Surgeoner                           JOINT DEBTOR:                                                  CASE NO.: 22-16030-MAM
        SS#: xxx-xx- 5961                                             SS#: xxx-xx
                    NOTICES
                    To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirm
                                                                                                                          able. All plans, amended plans and
                                       modified plans shall be served upon all creditors and a certificate of service filed
                                                                                                                             with the Clerk pursuant to Local
                                       Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan
                                                                                                                           payments within 30 days of filing
                                       the chapter 13 petition or within 30 days of entry of the order converting the
                                                                                                                      case to chapter 13.
                   To Creditors:       Your rights may be affected by this plan. You must file a timely proof of claim
                                                                                                                         in order to be paid. Your claim may
                                       be reduced, modified or eliminated.
                   To All Parties:The plan contains no nonstandard provisions other than those set out in paragr
                                                                                                                   aph IX. Debtor(s) must check one box
                                  on each line listed below in this section to state whether the plan includes any
                                                                                                                    of the following:
         The valuation of a secured claim, set out in Section III, which may result in
                                                                                        a
        partial payment or no payment at all to the secured creditor                                                 Included         j Not included
        Avoidance ofajudicial lien or nonpossessory, nonpurchase-money securit
                                                                                      y interest, set
        out in Section III                                                                                           Included           Not included
        Nonstandard provisions, set out in Section IX
                                                                                                               fJ Included              Not included
      II.       PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(SV ATfORNEY’S
                                                                                                      FEE
                  A.     MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the credito
                                                                                                          rs the amounts listed below, including trustee’s
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event
                                                                                                      the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        I.   $497.20               for months     1     to 60;

                  B. DEBTOR(S)’ ATTORNEY’S FEE:
                                                                                             fl NONE              PRO BONO
              Total Fees:              $5,175.00            Total Paid:                    $300.00              Balance Due:         $4,875.00
              Payable             $452.00          /month (Months       I    to 5      )
              Payable             $435.83          /month (Months 6to 11
              Allowed fees under LR 2016-l(B)(2) are itemized below:
              $4,650 + $525 Lien Avoid

              Applications for compensation must be filed for all fees over and above the
                                                                                                          Court’s Guidelines for Compensation.
     III.        TREATMENT OF SECURED CLAIMS
                                                                      E NONE
                 A. SECURED CLAIMS:                   NONE
                 B. VALUATION OF COLLATERAL:
                                                                 J NONE
                 C. LIEN AVOIDANCE              NONE
                    Judicial liens or nonpossessory, nonpurchase money security interests securin
                                                                                                  g the claims will be avoided to the extent that they
                    impair the exemptions under I I U.S.C. § 522 as listed below. A separate motion
                                                                                                     will also be served pursuant to BR 7004 and LR
                    3015-3.
              1. Creditor: Midland Credit Management, Inc.                                  Collateral:     1637 Pointe West Way Vero Beach, FL 32966
                   Address: POB 939069, San Diego, CA 92193
                                                                                            Exemption: homestead
              Last 4 Digits of Account No.:        unk


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                                                                            Debtor(s): Margaret C. Surgeoner                 Case number: 22-16030-MAM
               D. SURRENDER OF COLLATERAL:                       jJ NONE
               E. DIRECT PAYMENTS                 fl NONE
               Secured claims filed by any creditor granted stay relief in this section
                                                                                        shall not receive a distribution from the Chapter 13 Trustee.
                   The debtor(s) elect to make payments directly to each secure
                                                                                          d creditor listed below. The debtor(s) request that upon
                   confirmation of this pLan the automatic stay be terminated in rem
                                                                                            as to the debtor(s) and in rem and in personam as to any
                   codebtor(s) as to these creditors. Nothing herein is intended to termin
                                                                                            ate or abrogate the debtor(s)’ state law contract rights.
                        Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address.
                                                                                                                               Vehicle. etc)
                        Select Portfolio Servicing,     5710                             1637 Pointe West Way Vero Beach, FL 32966
                        Inc ./Athene Annuity and Life
                        Company
   IV.        TREATMENT OF FEES AND PRIORITY CLAIMS [as defined
                                                                                         in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)J   j NONE
  V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
                                                                                                fl NONE
                 A. Pay            $16.17       /month (Months       6     toll
                        Pay       $452.00       /month (Months       12    to6O
                        Pro rata dividend will be calculated by the Trustee upon review of filed
                                                                                                   claims after bar date.
                 B.     El If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
                 C. SEPARATELY CLASSIFIED:                 j NONE
  VI.         STUDENT LOAN PROGRAM                    j NONE
  VII.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                          NONE
  VIII.       INCOME TAX RETURNS AND REFUNDS:
                       j Debtor(s) will not provide tax returns unless requested by any
                                                                                 interested party pursuant to 11 U.S.C. 521.
                                                                                                                       §
 IX.         NON-STANDARD PLAN PROVISIONS
                                                       El NONE
             j Nonstandard provisions must be set forth below. A nonsta
                                                                           ndard provision is a provision not otherwise included in the
               Form or deviating from it. Nonstandard provisions set out elsewhere                                                      Local
                                                                                   in this plan are void.
                 The Court will abate ruling on Debtor’s Objection to Claim #3 pursua
                                                                                         nt to the Agreed Order at ECF 48.
                 One the US Department of Treasury Internal Revenue Service (“IRS”
                                                                 -
                                                                                          ) has had an opportunity to process
                 Debtor’s amended 2020 income tax return, the IRS shall either amend
                                                                                          Claim #3 or notify Debtor’s counsel
                 that an amendment is not forthcoming and the reasons therefor. Upon
                                                                                         processing of the 2020 income tax
                 return by the IRS, the Debtor shall take the necessary steps to either
                                                                                        modify her plan to provide for an
                 amended Claim #3, or file an Objection thereto.
            El Mortgage Modification Mediation




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                                                                       Debtor(s): Margaret C. Surgeoner                 Case number: 22-16030-MAM

                          PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN
                                                                                                               CONFIRMATION.
      I declare that the foregoing chapter 13 plan is true and correct tinder penalty of perjury.



                                            Debtor                                                              Joint Debtor
                        Surgeoner                             Date                                                                   Date


                                                  3/c/t3
                                                     I
      At4ney4i permission to sign on                        Date
      4btor(sy behalf who certifies that
      he contents of the plan have been
        reviewed and approved by the
                        Debtor(s).’

     By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented
                                                                                          by counsel, certifies that the wording and
     order of the provisions in this Chapter 13 plan are identical to those contained
                                                                                      in Local Form Chapter 13 Plan and the plan
     contains no nonstandard provisions other than those set out in paragraph IX.




 ‘This certification requirement applies even if the Debtor(s) have executed a limited
                                                                                       power of attorney to Debtor(s) attorney authorizing the
 attorney to sign documents on the Debtor(s) behalf.




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